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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
vs.                                              )   Criminal Action No. 2:14-000135-KD
                                                 )
TAKASHA STEVENSON,                               )
                                                 )
       Defendant.                                )

                                             ORDER

       After due and proper consideration of the issues raised, and there having been no

objections filed, the recommendation of the Magistrate Judge made under 28 U.S.C. §

636(b)(l)(B) and dated May 22, 2015 is ADOPTED as the opinion of this Court.

       Accordingly, Takasha Stevenson’s motion for waiver of transcript fee (doc. 581) is

GRANTED, subject to the provisions of 18 U.S.C. 3006A(e)(3).1

       DONE and ORDERED this 14th day of June 2015.



                                             /s/ Kristi K. DuBose__
                                             KRISTI K. DuBOSE
                                             UNITED STATES DISTRICT JUDGE




1
  “(3) Maximum amounts.--Compensation to be paid to a person for services rendered by him to
a person under this subsection, or to be paid to an organization for services rendered by an
employee thereof, shall not exceed $2,400, exclusive of reimbursement for expenses reasonably
incurred, unless payment in excess of that limit is certified by the court, or by the United States
magistrate judge if the services were rendered in connection with a case disposed of entirely
before him, as necessary to provide fair compensation for services of an unusual character or
duration, and the amount of the excess payment is approved by the chief judge of the circuit. The
chief judge of the circuit may delegate such approval authority to an active or senior circuit
judge.”
